 

Case 3:18-cr-00410-M
U.S Department of Justice
United States Marshals Service

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PROCESS RECEIPT AND RETURN

See “Instructions for "Service of Process by the U.S Marshal"

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Fay

 

 

 

 

PLAINTIFE US MARSHALS SERVICE N/TX Oe ENS
United States of America DALLAS, TEXAS 3:18-CR-410-M f y
DEFENDANT TYPE OF PROCESS .
28 AUG AS
ROBERT CARL LEONARD, JR. 2 8 * 9 0 Preliminary Order of Forfeiture
NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE

AT | $557,273.60 in funds from account 488007872057, in the name of Force Multiplier Solutions

LLC, at Bank of America, Dallas, Texas

 

 

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Mark J. Tindall

Assistant United States Attorney
1100 Commerce Street; Suite 300
Dallas, Texas 75242

Number of process to be, . 1
served with this:Form - 285

 

Number of parties to tie
served in this case '

 

 

 

 

on U.S.A,

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVER
(Include Business and Alternate Addresses, All Telephone Numbers, and Estimated Times Available For Server):

4

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Check for service \
4
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Pursuant to the Preliminary Order of Forfeiture filed August 27, 2018, the USMS is to seize the property listed in the Preliminary
Order of Forfeiture and hold it in secure custody and control pending a Final Order of Forfeiture.

Asset ID: 17-FBI-004246

 

Signature of Attorney or other Originator requesting service on behalf of:

 

 

 

 

 

 

TELEPHONE NUMBER DATE
M PLAINTIFF

/s/ Mark]. Tindall by A. Wey

J. by A. Jacg CO DEFENDANT (214) 659-8600 8/27/2018
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total Total Process | District District Siganture of Authorised USMS Degaly or Clerk
number of process indicated. of Origin to Serve
(Sign only first USM 285 if more 7 No 7 7 no. J 2? a iS,
than one USM 285 is submitted) ‘

 

 

 

 

 

Cj Thereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)

O Aperson of suitable age and discretion then

 

residing in the defendant's usual place of abode.

 

Address (complete only if different than shown above)

Date q Time Oam

   

 

 

 

 

Service Fee Total Mileage Charges Forwarding Total Charges | Advance Deposits Amount owned to U.S. Marshal* or
Ge (including endeavors) Fee Fg wv (Amount of Refund)

 

 

 

 

 

Per Preliminary Order of Forfeiture, the above listed asset was taken into custody on July 6, 2017. It will
remain in USMS custody pending a Final Order of Forfeiture.

PRIOR EDITIONS MAY BE USED

FORM USM-285
